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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

 

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UNITED STATES OF AMERICA, : 13cr00368 (DLC)
_y- : ORDER

ARTHUR BUDOVSKY, : |] USDC Spwy

Defendant. : DOCUMENT
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DENISE COTE, District Judge: DATE FILED: 5/5/30) |

 

Sentence is scheduled for Friday, May 6, 2016 at 2:00 p.m.
On May 4, defense counsel wrote to request that a document
entitled “Defense Version of Offense Conduct” be included in the
final Presentence Report (“PSR”%}, either in its body or as an
Addendum. The PSR explains that the Offense Conduct section in
the PSR was provided by the Government. The Defense Version is
a twenty-eight page document and, among other things,
specifically addresses facts in 20 separate passages in the
Offense Conduct section of the PSR. Of those 20 passages, the
Defense Version appears to dispute the facts recited in only six
passages of the PSR’s Offense Conduct section. The remainder of
the discussion in the Defense Version attempts to create the
appearance of a dispute with the Government where none exists
(including by mischaracterizing specific wording in the PSR), or
adds additional detail or argument that the defendant believes

is helpful to him.

 
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The six disputes the Court has identified are the

following:

(1)

(2)

PSR 7 19: “In late 2012, [LR] handled a transactional
volume of over $300,000,000 per month, a significant
portion of which came from users in the United States.”
Def. Version at 12: “[F]rom 2009 to 2013, LR had only two
months where the transactional volume exceeded
$300,000,000.00. It was not an every month occurrence,
as the Government suggests.”

 

PSR @ 22: “Al1 totaled, Budovsky netted over $25 million
in profits from his criminal activity.”

Def. Version at 12: “[Tjhe defense has seen no evidence
that Budovsky personally netted over $25 million in
profits as the PSR asserts in 7@ [22]. . . . [A] good deal
of that money was frozen. For these reasons, it is our
view that Budovsky himself did not personally benefit in
the amount claimed by the Government and recited in the
PSR.”

 

PSR {7 34-35: Describes Budovsky’s participation in a
1999 fake 501(c) (3) charity money laundering and tax
fraud scheme as well as a no-fault auto insurance fraud
that took place from 2000-2003.1

Def. Version at 16: Budovsky “denies participating in”
the “unrelated frauds” from 1999-2005 described in the
PSR.

 

PSR ¥ 38: Lists several statements that were attributed
to Budovsky during a 2002 “interview” that Kats posted to
a website called PlanetGold to promote LR’s launch. The
PSR states that Budovsky and Kats worked on the
“interview” together.

Def. Version at 18: Budovsky alleges that this interview
is a “fiction” and “entirely Kats’ creation. ... [T]he
statements attributed to Budovsky by Kats on the
PlanetGold site were never made by Budovsky.”

 

 

1 The Government’s documentary evidence regarding the fake
charity, United Support for Humanity, is found in GxX-502A and

502B.

These exhibits include 501{(c) (3} incorporation papers

signed by Budovsky and a screen shot of the charity’s website
where Budovsky identifies himself as the founder and chairman,

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{5) PSR 7 64: “As to their other businesses, including their
digital currency exchange businesses, they remained 50/50
partners with respect to some of them and others were
divvied up between them.”

Def. Version at 26: “Budovsky gave up any interest in any
other ventures in which he and Kats had been partners”
after Budovsky bought Kats out of LR.

 

(6) PSR I 82: “In early 2010, Budovsky proposed to Fl. Amine
that they work together to create a HYIP website.”
Paragraphs 84 and 85 of the PSR describe Budovsky’s role
as the decision-maker in establishing HYIPs with El

 

Amine.
Def. Version at 30: “The idea to create HYIPs was El
Amine’s., Budovsky was aware of El Amine’s activities,

did nothing to stop them and, indeed, encouraged them.”

Accordingly, it is hereby

ORDERED that the defendant shall inform the Government by
May 6 at 10:00 a.m. whether he wishes a Fatico hearing to be
held to resolve any of these six identified disputes, or any
other issue connected with the sentence.

If IS FURTHER ORDERED that the defendant shall file by May
6 at 10:00 a.m. a letter identifying any other passage in the
PSR’ s Offense Conduct section which the defendant believes the
Defense Version directly contradicts.

Dated: New York, New York
May 5, 2016

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Unc MN.
ENISE COTE
United States District Judge

 
